AO   9l (Rev. I I/l 1)   Criminal Complaint



                                              UNrlsn Sralps Ðtsrrucr Counr
                                                                          for the
                                                               District of Connecticut

                     United States of America                                )
                                                                             )
                                                                             )      caseNo,     &:¿Õm4ffi trSG                     ete$
                          CORTNEY DUNLAP                                     )
                                                                             )
                                                                             )
                                                                             )
                                DeJendant(s)


                                                         CRIMIN,A.L         C    OMPI,A.INT
            I, the complainant in this case, state that the t'ollowing is true to the best of my knowledge and belief.
On or about the date(s) of                           January 1,2017                 in the county   of               Hadford                          in the

                             District of            Connecticut          , the defendant(s)   violated;

                Code Seclion                                                           Offense Desuiption
18 U.S.C. S 1035                                        False Statement ln A Health Care Matter

18 U.S.C. S 1347                                        Health Care Fraud




            This criminal cornplaint is based on these facts


                                        See Affidavit of Jeffrey W. Anderson, attached hereto




            d   Continued on the attached sheet
                                                                                                     JEFFREY              TågË'Ë,v'ii,i3åå,"-
                                                                                                     AN DERSON ff'ï;,åo3'tfi,q'
                                                                                                          Complainanl's signature

                                                                                         Jeffrey W. Anderson, Specia lAgent, HHS-OIG
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Sworn to before lne and signed i**"aûT"rËsttrÈËr
                                                                                                                         Digitally signed by Roborl
                                                                                                    Robed A.             A. Richardson
                                                                                                                         Date:2020,10.05
Date:       101512020                                                                               Richardson           11:07:06 -04'00'

                                                                                                             Judge's signature


Citv and state:                               Hartford, Connecticut                       Rober.t A. Richardson, U.S. Magistrate Judge
                                                                                                           Printed name and title
